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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

In Re: ) Case No. 15-21275
)

Roger Bouchard ) Chapter 7
)

Debtor ) ECF No. 151

ORDER DENYING APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

It appears that on July 13, 2017, the Chapter 7 Trustee issued check 119 in the amount
of $12,434.15 to Roger Bouchard (“Debtor”).

On July 19, 2017, Debtor cashed the check.

On December 16, 2019, Debtor filed an application for payment of unclaimed funds in
the amount of $12,434.15 deposited with the court pursuant to 11. U.S.C. § 347(a).

The court is not holding unclaimed funds on behalf of Debtor. .

Accordingly, it is hereby:

ORDERED that the court DENIES the application.

Dated at Hartford, Connecticut this 27th day of December, 2019.

 
